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                                  No. 24-5524

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT


                     DAVID ERMOLD; DAVID MOORE

                              Plaintiffs-Appellees

                                       v.

                           KIM DAVIS, individually

                             Defendant-Appellant


   On Appeal from the United States District Court for the Eastern District of
       Kentucky, Case No. 15-cv-00046, Honorable David L. Bunning


             DEFENDANT-APPELLANT’S OPENING BRIEF


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                  CORPORATE DISCLOSURE STATEMENT

      In accordance with Fed. R. App. P. 26.1 and Rule 26.1 of this Court,

Defendant-Appellant Kim Davis (“Davis”) states that she is an individual person, is

not a subsidiary or affiliate of a publicly owned corporation, nor is there any publicly

owned corporation, not a party to the appeal, that has a financial interest in its

outcome.




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            STATEMENT IN SUPPORT OF ORAL ARGUMENT

      Defendant-Appellant Kim Davis (“Davis”) hereby requests oral argument

because this case presents new and complex issues of federal law concerning the

intersection of the First Amendment religious liberty rights of those officials who

are tasked with enforcing state laws on marriage licensing after the Supreme Court’s

decision in Obergefell v. Hodges, 576 U.S. 644 (2015).




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                                 INTRODUCTION

      “In Obergefell v. Hodges, the Court read a right to same-sex marriage into the

Fourteenth Amendment, even though that right is found nowhere in the text.” Davis

v. Ermold, 141 S. Ct. 3 (2020) (Thomas, J., Statement). As was predicted at the time

Obergefell was decided, it “would threaten the religious liberty of many Americans

who believe that marriage is a sacred institution between one man and one woman.”

Id. “As a result of this Court’s alteration of the Constitution, Davis found herself

with a choice between her religious beliefs and her job. When she chose to follow

her faith . . . she was sued almost immediately for violating the constitutional rights

of same-sex couples.” Id. And, after being sued, she was thrown in jail for doing so.

In a country birthed by those “who sought refuge in a new world from the cruelty

and oppression of the old, where men have been burned at the stake, imprisoned, and

driven into exile in countless numbers for their political and religious beliefs,”

Schneiderman v. United States, 320 U.S. 118, 120 (1943), we can do better, and the

Constitution demands we do so. Davis was “put to a choice between fidelity to

religious belief or cessation of work” (and ultimately jail). Thomas v. Review Bd. of

Indiana Emp. Sec. Div., 450 U.S. 707, 718 (1981). The First Amendment precludes

that Hobson’s choice, yet its protections were not afforded to Davis. The district

court should be reversed.
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                       STATEMENT OF JURISDICTION

      Plaintiffs brought their claims under 42 U.S.C. §1983, and the district court

had jurisdiction under 28 U.S.C. §1331. After opinions and orders on summary

judgment and a trial on the merits resulting in the district court’s final judgment

(Final Judgment, RE 166, PageID #2590), this Court has jurisdiction under 28

U.S.C. §1291.

                         STATEMENT OF THE ISSUES

      (1)    Whether the district court erred in submitting the case to the jury to

consider an award for damages where Plaintiffs presented no evidence of

compensatory damages and presented no evidence of emotional distress other than

bare subjective testimony of hurt feelings.

      (2)    Whether Defendant Clerk, who was permitted to opt out of issuing

hunting and fishing licenses for reason of conscience, and who shortly after the

commencement of the instant lawsuit received accommodation from the Governor

of Kentucky and by a unanimous state legislature to opt out of issuing marriage

licenses for same-sex ceremonies, was entitled to a reasonable accommodation of

her religious beliefs under the First Amendment Free Exercise Clause and the

Kentucky Religious Freedom Restoration Act.

      (3)    Whether Obergefell v. Hodges, 576 U.S. 644 (2015), which shredded

the Commonwealth of Kentucky’s marriage laws, clearly established a constitutional


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right to marry for same-sex couples that instantly overrode the constitutional right

to religious accommodation under federal and state law, when the accommodation

sought was merely to remove the issuing clerk’s name and title from marriage

licenses that conflicted with sincerely-held religious beliefs.

      (4)    Whether Obergefell v. Hodges, 576 U.S. 644 (2015), clearly established

a constitutional right to marry for same-sex couples that preempts all free exercise

rights of individual state marriage licensing officials regardless of the ready

availability of marriage licenses throughout the state for any couple.

      (5)    Whether Obergefell v. Hodges, 576 U.S. 644 (2015), should be

overruled following the Supreme Court’s decision in Dobbs v. Jackson Women’s

Health Organization, 597 U.S. 215 (2022).

                            STATEMENT OF THE CASE

I.    FACTUAL BACKGROUND.

      A.     Kentucky’s Marriage Licensing Before Obergefell And The
             Governor’s Same-Sex Marriage Licensing Mandate.

      Prior to Obergefell, Kentucky constitutionally and statutorily defined

marriage as the union between one man and one woman. Ky. Const. § 233A (2004);

Ky. Rev. Stat. § 402.005 (1998). The pre-Obergefell statutory marriage license form

included a license to marry under the name and authority of the county clerk. Ky.

Rev. Stat. §402.100 (2006); Miller v. Davis, 123 F. Supp. 3d 924, 931-32 (E.D. Ky.

2015), vacated, 667 F. App’x 537 (6th Cir. 2016).
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      On June 26, 2015, moments after the Supreme Court announced its decision

in Obergefell, former Kentucky Governor Steve Beshear issued a directive to all

Kentucky county clerks (“Mandate”) to “recognize as valid all same sex marriages

performed in other states and in Kentucky.” (Mandate, RE 27-1, PageID #128.) In

this Mandate, Governor Beshear further commanded that Kentucky “must license

and recognize the marriages of same-sex couples,” and ordered the creation and

distribution of new marriage license forms to accommodate same-sex couples. (Id.)

The new form retained the requirement to issue the license under the name and

authority of the county clerk. (RE 27-2, PageID #130.)

      B.     Davis’s Sincerely Held Religious Beliefs About Marriage.

      Davis possesses a sincerely held Christian belief that marriage is a union

between one man and one woman, only. (Am. Compl., RE 27, PageID #121, ¶¶ 21,

23.) Davis cannot authorize the marriage of same-sex couples because it violates her

core religious beliefs that the endorsement of her name and authorization equates to

approval and agreement. See Miller, 123 F. Supp. 3d at 932. Following the Mandate,

due to her religious beliefs, Davis discontinued issuing any and all marriage licenses.

(Am. Compl., RE 27, PageID #121, ¶¶ 21, 23.) See also Miller, 123 F. Supp. 3d at

929-30. Rather than withdraw her authorization for only same-sex marriages, Davis

withdrew her authorization to issue any marriage license in her name to any couple.

Miller, 123 F. Supp. 3d at 929-930. Her intent in doing so was a temporary policy


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until her religious beliefs could be accommodated, and, as the President the

Kentucky Senate wrote in an amicus brief in support of Davis, “the concept of

marriage as between a man and a woman is so interwoven into KRS Chapter 402

that the defendant County Clerk cannot reasonably determine her duties until such

time as the General Assembly has clarified the impact of Obergefell by revising KRS

Chapter 402 through legislation.” (RE 89-14, PageID #902.)

      C.     The Lawsuit Giving Rise To This Appeal.

      Plaintiffs filed suit against Davis on July 10, 2015, after the virtually identical

Miller v. Davis lawsuit was filed, but before the Executive Order and enactment of

SB 216 that granted Davis an accommodation. (Compl., RE 1, PageID ##1-7.)

Following this Court’s vacatur of the Miller preliminary injunction orders, the

district court consolidated the instant case with Miller and Yates v. Davis, another

case challenging Davis’s accommodation, under the caption In re: Ashland Civil

Actions, for the purpose of dismissing all three actions as moot. (Order, RE 19,

PageID ##95-97.)

      Plaintiffs appealed the dismissal of their case. (RE 20, PageID ##98-100.)

This Court reversed the dismissal and remanded the case for reinstatement. Ermold

v. Davis, 855 F.3d 715 (6th Cir. 2017). The district court granted Plaintiffs leave to

amend their complaint (Order, RE 26, PageID #117), which Plaintiffs did on June 8,

2017 (Am. Compl., RE 27, PageID ##119-136).


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      According to the Amended Complaint, Plaintiffs are two males residing in

Rowan County, Kentucky, who desired but were denied a Kentucky marriage

license. (Am. Compl., RE 27, PageID ##119, 121, 123.) Based on Obergefell and

Governor Beshear’s Mandate, Plaintiffs alleged that their constitutional right to

marry includes the right to be issued a marriage license by a specific person, Davis,

and in a specific location, Rowan County. (Id., PageID ##119-121, 124.) Davis’s

observance of her “deeply held Christian beliefs” about marriage, Plaintiffs claim,

violated their constitutional right to marry. (Id., PageID ##121, 124.) Plaintiffs

sought actual and punitive damages, pre- and post-judgment interest, and attorneys’

fees and costs. (Id., PageID #25.)

      D.     The Incarceration Of Davis For The Exercise Of Her Religious
             Beliefs.

      Plaintiffs were not the first to file suit against Davis following Obergefell. On

July 2, 2015, less than one week after Governor Beshear issued his Mandate, the

plaintiffs in Miller v. Davis (two same-sex and two opposite-sex couples) filed suit

alleging federal constitutional claims and demanding that Davis issue them marriage

licenses issuance of marriage licenses to them in Rowan County, under Davis’s

name and authority. Miller, 123 F. Supp. 3d at 930-31. The Miller Plaintiffs filed the

action on behalf of themselves and “a putative class of individuals who are qualified

to marry and who intend to seek a marriage license from the Rowan County Clerk.”

Id. On August 12, 2015, the district court preliminarily enjoined Davis, in her official
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capacity, “from applying her ‘no marriage licenses’ policy to future marriage license

requests submitted by Plaintiffs.” Id. at 930, 944. On September 3, 2015, the court

expanded the preliminary injunction to apply to other individuals who are legally

eligible to marry in Kentucky. On the same day, the district court held Davis in

contempt of the preliminary injunction, and remanded Davis to the custody of the

United States Marshal pending compliance. (Mem. Op. & Order, RE 49, PageID

#296.)

      E.     Davis’s Quest For An Accommodation, Other Existing
             Accommodations, And The Commonwealth’s Ultimate Grant Of
             An Accommodation For Clerks.

             1.    Davis’s quest for a religious accommodation.

      Prior to the Supreme Court’s decision in Obergefell, Davis began seeking an

accommodation for her sincerely held religious convictions and those of her fellow

clerks. Soon after the Supreme Court granted certiorari in Obergefell, Davis wrote

to Senator Robertson in the Kentucky legislature requesting that the Commonwealth

take action to protect the religious convictions of county clerks. (RE 89-12, Page ID

#899.) Davis wrote that “in light of the Supreme Court’s decision to look at the issue

in April, I feel it is imperative that we be ready to stand with our uncompromising

convictions, holding strong to our morals, and beliefs.” (Id.) She noted, “I beseech

you to give thoughtful consideration to this matter, as it is of vital importance, not




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only to me, as a new Clerk, but to the Kentucky County Clerk’s Association who has

formed a formal committee to address this issue.” (Id.)

      In addition to seeking a legislative solution prior to the Supreme Court’s

decision in Obergefell, Davis also petitioned the Governor of Kentucky in the

immediate aftermath of Obergefell so that she could avoid the scenario that led to

the instant lawsuit. On July 8, 2015, Davis wrote a letter to the Kentucky Governor

informing him that Obergefell was on a collision course with the sincere religious

beliefs of many clerks. (RE 89-13, PageID #900.) Davis requested that the

Governor—who was the only individual with authority to do so—convene a special

session of the legislature to consider “commonsense legislation that would modify

Kentucky’s marriage laws to satisfy the concerns of the majority of Clerks, while

still abiding by the Obergefell ruling.” (Id.) He did not respond.

             2.     The Governor’s accommodation for his attorney general.

      Despite his newly-minted mandate that all Kentucky officials follow their

duties (as defined by himself), the Governor did not impose that same mandate on

his Attorney General. According to the Attorney General’s proclamation at the time,

“There are those who believe it’s my mandatory duty, regardless of my personal

opinion, to continue to defend this case . . . I can only say that I am doing what I

think is right. In the final analysis, I had to make a decision that I could be proud of

– for me now, and my daughters’ judgment in the future.” (RE 89-6, PageID 749-


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750 (emphasis added). The Governor did not force the Attorney General to abandon

his “inescapable” conscience and instead hired outside counsel to represent

Kentucky in defending its own Constitution and democratically-enacted laws—

which cost Kentucky upwards of $200,000. (Id., PageID #749-750, 756-757.) In

other words, the Governor’s “do your job or resign” policy applied only to Davis,

not the Attorney General.

             3.    The Governor’s ultra vires accommodation while Davis was
                   in jail.

      On September 4, 2015, the day after Davis was jailed for contempt of the

Miller injunction, Plaintiffs received a Kentucky marriage license from a Rowan

County deputy clerk, on a license form altered to remove Davis’s name, and without

Davis’s authorization. (Am. Compl., RE 27, PageID ##121-22; Marriage License,

RE 27-2, PageID #130.) Then-Governor Beshear, however, who first authorized and

directed the alteration of Kentucky marriage license forms in response to Obergefell,

authorized the altered form from the deputy clerk after-the-fact. (Am. Compl. Ex. 4,

RE 27-4, PageID #134 (“‘I’m . . . confident and satisfied that the licenses that were

issued last week (and) this morning substantially comply with the law in Kentucky’

. . . . ‘And they’re going to be recognized as valid in the Commonwealth.”).) The

Governor’s authorization also extended to marriage license forms which were

further altered by Davis, to clarify the removal of her name and authorization, upon

her return to work after her imprisonment. (Id., PageID ##134-35.)
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            4.     Legislative accommodations for religious beliefs.

      Kentucky law provides a statutory exception for the sincerely held religious

beliefs of Commonwealth officials that object to providing or issuing other forms of

licensure. One exception that already existed that could have accommodated Davis’s

sincere religious convictions would have been to allow the county judge/executive

to license a marriage by “a memorandum thereof” as an alternative to the KDLA-

prescribed form. See KRS 402.240.

      Additionally, Kentucky law provides that county clerks may be excused (i.e.,

accommodated) from issuing hunting and fishing licenses, which any county clerk

may claim simply by submitting a written memorandum. See KRS 150.195(2).

            5.     Davis’s ultimate accommodation from the Commonwealth.

                   a.      The executive order giving Davis her requested
                           accommodation.

      On December 22, 2015, then-newly elected Kentucky Governor Matt Bevin

issued Executive Order 2015-048 Relating to the Commonwealth’s Marriage

License Form (“Executive Order”), which explicitly acknowledged the protections

afforded county clerks under Kentucky’s Religious Freedom Restoration Act, Ky.

Rev. Stat. § 446.350 (2013). (Executive Order, RE 29-1, PageID ##174-176.)

Specifically, the Executive Order established that (1) the previous Governor’s

Mandate placed a substantial burden on the free exercise of religion by some county

clerks and their employees, (2) the Kentucky RFRA requires that the Commonwealth
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use the least restrictive means available to carry out Kentucky marriage license

policy in light of that substantial burden, (3) there is no compelling governmental

interest to justify requiring the name and authority of county clerks on marriage

licenses, (4) a reasonable accommodation for county clerks could easily and must be

made, and (5) the Commonwealth is legally obligated to comply with Kentucky

RFRA through the creation and provision of a revised marriage license form

removing the requirement of a county clerk’s name and authority. (Id.)

                   b.     The legislature’s      permanent       adoption   of   the
                          accommodation.

      On July 14, 2016, Kentucky Senate Bill 216 (“SB 216”) took effect,

permanently modifying Kentucky law regarding the issuance and authorization of

marriage licenses beyond the Executive Order. Specifically, SB 216 expressly

modified the Kentucky marriage licensing scheme to remove entirely a County

Clerk’s name, personal identifiers, and authorization from any license, thereby

providing through a permanent change in the law the precise religious

accommodation Davis sought before Obergefell. The Kentucky Legislature

unanimously passed SB 216 and Governor Bevin signed it into law on April 13,

2016, thereby amending Ky. Rev. Stat. §§ 402.100 and 402.110. See 2016 Kentucky

Laws Ch. 132 (SB 216), General Assembly Reg. Sess. (Ky. 2016).




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      F.     Plaintiffs’ Pursuit Of Retribution Damages.

      SB 216 rendered moot Davis’s appeals from the district court’s preliminary

injunction orders in Miller. Accordingly, this Court dismissed the Miller appeals and

remanded the case to the district court, instructing it to vacate the August 12 and

September 3, 2015, preliminary injunctions. Miller v. Davis, 667 F. App’x 537 (6th

Cir. 2016). Discontent with the prospective injunctive relief afforded them under

Miller and despite obtaining the marriage license they sought, Plaintiffs pursued

“retrospective money damages.” (Mem. Op., RE 49, PageID #295.) The district

court entered summary judgment against Davis as to liability, and ordered a trial on

damages. (Mem. Op. and Order, RE 108.) At trial, Plaintiff Ermold testified that he

“wanted [Davis] to receive consequences for her actions.” (Trial Tr., RE 169, PageID

#2883.) He further testified that he agreed with commenters on his social media

accounts that Plaintiffs should “Go for [Davis’s] throat,” because “[t]hat nasty bitch

deserves to die.” (Id.) Plaintiff Ermold has also testified that he liked the comment

that: “I would love to see [Davis] hang . . . slowly.” (Id., PageID #2886.) At trial,

despite presenting no evidence of actual damages, the jury awarded Plaintiffs

$50,000 per Plaintiff. The $100,000 damages award was then supplemented with an

award of fees and costs in the amount of $260,084.70, bringing Davis’s total

financial liability to Plaintiffs to $360,084.70. (Judgment, RE166, PageID #2590.)

A separate jury sitting at the same time in the consolidated trial of Yates v. Davis


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awarded a verdict of $0.00 to those two plaintiffs. (No. 0:15-cv-62, Yates, RE145,

PageID #2264.)

II.   PROCEDURAL HISTORY AND RULINGS ON REVIEW.

      After three independent actions—sometimes consolidated, other times not—

and numerous appeals to this Court and the Supreme Court, the district court held a

jury trial on damages in September 2023. The orders on review from that trial and

those preceding it include the district court’s: (1) order that Plaintiffs’ right to have

a marriage license issued by a specific individual regardless of that individual’s

sincerely held religious objections to such action was clearly established by

Obergefell and precluded any immunity for Davis (Mem. Op., RE 49, PageID

##294-314); (2) order that the Free Exercise Clause did not require that Davis be

provided any accommodation for her sincere religious convictions (Id., PageID

##312-313); (3) order denying Davis’s Renewed Motion for Judgment (Mem. Op.,

RE 175, PageID #3125-30); and (4) order denying Davis’s motion for judgment as

a matter of law (Trial Tr., RE 170, PageID ##2940-45; RE 151, PageID #2177.)

Aside from the district court’s order on Davis’s Renewed Motion for Judgment as a

Matter of Law, which is independently appealable, each one of these decisions

merged into the Final Judgment entered by the district court on December 28, 2023,

and is thus properly before this Court. Prudential Securities, Inc. v. Yingling, 226

F.3d 668, 671 (6th Cir. 2000).


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                             STANDARD OF REVIEW

      The standard of review for all issues is de novo. Williams v. Nashville Network,

132 F.3d 1123, 1130 (6th Cir. 1997) (Rule 50(v) motion); Seaton v. TripAdvisor LLC,

728 F.3d 592, 596 (6th Cir. 2013) (First Amendment requires de novo review and

independent examination of whole record); Gregory v. City of Louisville, 444 F.3d

725 (6th Cir. 2006) (qualified immunity).

                           SUMMARY OF THE ARGUMENT

      Plaintiffs failed to present competent evidence of any damages, and instead

presented the jury with little more than speculation and conjecture. Their case should

never have been presented to the jury, and the district court erred in doing so.

Moreover, Davis was entitled to a reasonable accommodation for her sincere

religious convictions under the First Amendment and Kentucky’s Religious Freedom

Restoration Act, and the government’s refusal to timely grant such an

accommodation impermissibly infringed her religious exercise. Finally, the district

court’s determination that Obergefell clearly established the right to obtain a

marriage license from a specific individual without any accommodation for such

individual’s religious beliefs was in error.




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                                   ARGUMENT

I.    THE DISTRICT COURT SHOULD NOT HAVE PERMITTED THE
      CASE TO BE SUBMITTED TO THE JURY BECAUSE PLAINTIFFS
      FAILED TO OFFER COMPETENT EVIDENCE OF DAMAGES.

      “[T]he decision to grant judgment as a matter of law or to take the case away

from the jury is appropriate ‘whenever there is a complete absence of pleading or

proof on an issue material to the cause of action.’” Jackson v. Quanex Corp., 191

F.3d 647, 657 (6th Cir. 1999) (quoting Sawchik v. E.I. DuPont Denemours & Co.,

783 F.2d 635, 636 (6th Cir. 1986)) (emphasis added).

      A.     Plaintiffs Bore The Burden Of Proof To Demonstrate Damages
             With Actual, Competent Evidence.

             1.     Proof of actual injury is required for compensatory damages.

      “[T]he basic purpose of a §1983 damages award is to compensate persons for

injuries caused by the deprivation of constitutional rights.” Carey v. Piphus, 435 U.S.

247, 254 (1978). “[N]o compensatory damages may be awarded in a §1983 actions

absent proof of actual injury.” Farrar v. Hobby, 506 U.S. 103, 112 (1992) (emphasis

added); Memphis Cmty. Sch. Dist. v. Stachura, 477 U.S. 299, 308 (1986) (same). See

also Pembaur v. City of Cincinnati, 882 F.2d 1101, 1104 (6th Cir. 1989). Damage

awards in Section 1983 actions “operate[] through the mechanism of damages that

are compensatory—damages grounded in determinations of plaintiffs’ actual

losses.” Stachura, 477 U.S. at 307 (emphasis original).



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      No matter the particular damages claimed, the jury is not permitted to award

any damages absent actual proof. See Pembaur, 882 F.2d at 1104 (“Damages for

pain and suffering, mental anguish, and the like are available to the extent that actual

injury has been proved.”). It does not matter that the alleged damages may be

difficult to prove—actual proof is required. Carey, 435 U.S. at 263-64. Indeed, “an

award of damages must be supported by competent evidence concerning the injury.”

Id. at 264 n.20 (citing Gertz v. Robert Welch, Inc., 418 U.S. 323, 350 (1974))

(emphasis added). “Once a violation of civil rights is found, a plaintiff may recover

for out-of-pocket expenses and emotional distress, but there must be sufficient

evidence” to award damages. Morrow v. Igleburger, 584 F.2d 767, 769 (6th Cir.

1978) (emphasis added).

             2.     Speculation concerning damages is inadequate to satisfy
                    Plaintiffs’ burden.

      This actual proof standard articulated in Carey, Farrar, and Stachura is not

satisfied by speculation and conjecture. “Damages are not permitted which are

remote and speculative in nature.” Agriculture Servs. Ass’n v. Ferry-Morse Seed Co.,

551 F.2d 1057, 1072 (6th Cir. 1977) (emphasis added). Indeed, “[t]o set a

quantifiable damage figure arbitrarily is impermissible. It would not be a reasonable

inference but would be pure guesswork.” Id. “Carey’s requirement that actual injury

be proven before a plaintiff may recover serves merely to ensure that plaintiffs are



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not compensated for illusory injury.” Chatman v. Slagle, 107 F.3d 380, 385 (6th Cir.

1997) (quoting Bolden v. Se. Penn. Transp. Auth., 21 F.3d 29, 35 (3d Cir. 1994)).

      The actual proof standard “simply leaves no room for non-compensatory

damages measured by the jury’s perception of the abstract importance of a

constitutional right.” Stachura, 477 U.S. at 310 (cleaned up). The reason for this is

simple:

      damages based on the “value” of constitutional rights are an unwieldy
      tool for ensuring compliance with the Constitution. History and
      tradition do not afford any sound guidance concerning the precise value
      that juries should place on constitutional protections. Accordingly, were
      such damages available, juries would be free to award arbitrary
      amounts without any evidentiary basis, or to use their unbounded
      discretion to punish unpopular defendants.

Id. (emphasis added).

      B.     Davis Was Entitled To Judgment As A Matter Of Law Because
             Plaintiffs Failed To Prove Their Damages With More Than
             Speculation, Conjecture, And Their Own Brief Testimony.

             1.    Plaintiffs limited their damages claims to emotional distress
                   damages.

      In their Complaint, Plaintiffs initially prayed for “emotional damages,

humiliation, economic damages, and other compensatory damages,” “special

damages in an amount to be established at trial,” and “punitive damages.”

(Complaint, RE 1, PageID ##3, 5.) In their pre-trial filings, Plaintiffs dropped their

pursuit of all damages except “mental anguish, emotional distress, humiliation, and


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reputational damages.” (Proposed Special Verdict Form, RE136, PageID #2037.)

And, removing all doubts that Plaintiffs were not seeking anything other than

emotional distress damages, Plaintiffs explicitly informed the court prior to the trial

that there would be no claim for lost wages. (Trial Tr., RE 167, PageID ##2623-

2624.) Notably, Plaintiffs based their entire claim to $50,000 each on the loss of

Plaintiff Ermold’s employment and had no other way of calculating their claimed

damages, (Trial Tr., RE 169, PageID #2805-2807; id. PageID #2862-2870.)

Plaintiffs similarly withdrew their claim for punitive damages prior to trial. (Id.,

PageID #2613), but the evidence at trial indisputable demonstrated that the

employment loss had no connection to Davis. (Trial Tr., RE169, PageID ##2919-

2926.) And, as the Court noted, Plaintiffs had withdrawn their claims for reputational

damages based on allegations relating to a church sign. (Id., PageID #2621.)) Thus,

all that was left of Plaintiffs’ damages claims at trial was emotional distress.

             2.     Brief testimony concerning a plaintiff’s own perceived
                    emotional injury is insufficient to submit a case to the jury.

      The standards applicable to compensatory damages awards apply equally to

Plaintiffs’ claims for emotional damages. Carey, 435 U.S. at 264 n.20. Emotional

distress damages are permissible in Section 1983 actions, “but there must be

sufficient evidence to support the award.” Erebia v. Chrysler Plastic Prods. Corp.,

772 F.2d 1250, 1259 (6th Cir. 1985).



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      And, as a host of Sixth Circuit precedent indicates, the mere brief testimony

of the Plaintiffs concerning their alleged injury—without more—is not sufficient to

support a finding of damages. See, e.g., Rodgers v. Fisher Body Div., Gen. Motors

Corp., 739 F.2d 1102, 1107 (6th Cir. 1984) (holding that damages for emotional

distress cannot be based solely on “brief testimony” of the plaintiff claiming such

damages); Chatman, 107 F.3d at 386 (same); Erebia, 772 F.2d at 1259 (same);

Pembaur, 882 F.3d at 1104 (same).

      In Erebia, the only proof plaintiff had presented regarding emotional distress

“consisted of statements that he was ‘highly upset’ about the slurs and that ‘you can

only take so much.’” 772 F.2d at 1259. The Sixth Circuit held that this mere

testimony alone “is insufficient to support [a] verdict for compensatory damages

because it does not satisfy the requirements of Rodgers and Carey.” Id.

      In Pembaur, the district court noted that “[i]t is simply not enough for a

plaintiff to point a finger at a defendant” and claim their emotional injuries relate to

that defendant’s alleged tortious conduct. 745 F. Supp. 446, 456 (S.D. Ohio 1990).

Rather, a plaintiff claiming emotional distress injuries must come forward with

competent proof—beyond brief self-serving testimony—to satisfy the Stachura

dictates. Id. at 456-57. “Without such proof, the Court engages in speculation and

caprice as to what compensable damages, if any, are owing from [defendant].” Id.




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      The Seventh Circuit’s decision in Nekolny v. Painter, 653 F.2d 1164 (7th Cir.

1981) is also instructive. The court noted that “mental and emotional distress caused

by the denial of [constitutional] rights is compensable,” but that “an award of

damage for such injury will not stand without proof that such injury was actually

caused.” Id. at 1172. “The only evidence of injury contained in this record was

Nekolny’s testimony that on learning he was terminated he was ‘very depressed’”

and that the plaintiff was “completely humiliated.” Id. The Seventh Circuit held that

such brief testimonial “evidence is insufficient to constitute proof of compensable

mental or emotional injury.” Id. Indeed, brief testimony by a party that “he was

depressed, a little despondent, or even completely humiliated . . . is not enough to

establish injury even when the statement is considered along with the facts of this

case.” Id. at 1172-73. And, if that is all the proof presented, “plaintiffs were not

entitled to damages for emotional injury and the award of those damages must be

reversed.” Id. at 1173.

      Here, as demonstrated infra, the only proof Plaintiffs offered to support their

alleged emotional distress was their brief testimony of their own perceived damages,

the value of which Plaintiffs readily admit they have no knowledge or understanding.

No other evidence was presented, and that is plainly insufficient. The district court

erred in giving the damages case to the jury.




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             3.    Plaintiffs failed to produce evidence beyond their own mere
                   testimony concerning their alleged emotional distress
                   damages.

                   a.      Plaintiff Ermold failed to produce evidence of his
                           claimed emotional damages beyond merely his own
                           testimony.

      In his sworn testimony before the jury, Plaintiff Ermold testified that he did

not know how to calculate his alleged damages, or upon what evidence he was basing

his claim for $50,000 in damages. When asked if his alleged damages were based on

any consultation with medical professionals regarding his alleged injuries, Plaintiff

Ermold testified he had no such expenses or damages. (Trial Tr., RE 169, PageID

##2854-2855.) Plaintiff Ermold was asked whether he even sought the advice or

treatment of a medical professional to deal with his alleged emotional distress and

that alleged exacerbation of his purportedly pre-existing condition. He testified that

he did not and that there had been no treatment or diagnosis as a result of Davis’s

actions. (Id., PageID ##2858-2859.) And, Plaintiffs cannot base their damages claim

on the alleged worsening or exacerbation of a pre-existing medical condition

because Plaintiffs failed to provide any supporting expert testimony from medical

professionals. See, e.g., Scott v. Memorial Health Care Sys., Inc., 660 F. App’x 366

(6th Cir. 2016); Knowles v. Wal-Mart Stores East, L.P., 588 F. Supp. 3d 748, 751-52

(W.D. Ky. 2022).




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    Plaintiff Ermold was asked whether he had any competent evidence upon which

to base his calculation of damages. He had none.

      Q:    How much of the $50,000 that you’re asking this jury to give you
            is related to humiliation from the sign versus the, for example,
            the loss of your job at UPIKE?
      A:    So when you’re asked about – I don’t know. I have to give you
            the same answer that my husband gave you. I don’t know how to
            calculate pain and suffering, emotional damages, things like
            that. I don’t know how to calculate those things.
            So all I had at that time was I was unemployed. I had a reference
            from the last job I had, and I used that reference.
      Q:    So it’s true, then, you cannot calculate or make a division
            between the two items of damages that I’ve just discussed,
            correct?
      A:    Humiliation is humiliation. They’re the same thing.
      Q:    Is the answer to my question correct?
      A:    I can’t estimate. I don’t know how to do that.
(Id., PageID ##2878-2879 (emphasis added).)

                   b.      Plaintiff Moore failed to produce evidence of his
                           claimed emotional damages beyond merely his own
                           testimony.

      In his sworn testimony, Plaintiff Moore specifically testified that he did not

lose any money, did not seek any counseling or medical treatment for alleged

emotional distress, and did not know even how he arrived at his allegations of

$50,000 in damages. (Id., PageID #2804.) After initially attempting in discovery to

base his alleged damages on the loss of Plaintiff Ermold’s position at University of


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Pikeville,1 Plaintiff Moore was forced to recant that testimony and testified to the

jury that he did not actually know what his alleged damages were based upon and

did not know how to calculate them. (Id., PageID #2806.)

      And, in fact, Plaintiff Moore’s testimony essentially admitted that his proof of

damages was based solely on speculation as to what the value and amount of his

alleged injuries were. (Id., PageID ##2808-2809 (“I don’t know how people calculate

any of this stuff, you know. I don’t know what that’s worth.” (emphasis added).); (See

also id., PageID #2811 (“So I don’t know how to come to that number.”).)

      And, if the testimony elicited from cross-examination during trial was not

alone sufficient to demonstrate the utter lack of proof Plaintiffs put forward

regarding their damages, on direct examination, Plaintiff Moore specifically

testified: “I don’t know what the value is. That’s up to the jury to decide. It’s up to

other people to decide what the value is. I don’t know. Maybe it has no value. I don’t

know.” (Id., PageID ##2797 (emphasis added).) A plaintiff bearing the burden to

demonstrate with competent evidence that he incurred damages, and to prove the

amount of those damages, falls significantly short when he concedes that his injury

“maybe [] has no value.” The case should never have been presented to the jury.




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       The Associate Vice President for UPIKE likewise testified at trial that
Plaintiff’s contract was not renewed and that it had nothing to do with Davis or this
case. (Trial Tr., RE169, PageID ##2919-2926.)
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      C.     Neither Plaintiff Testified About The Claimed Emotional Distress
             Of The Other Plaintiff, Or Presented Any Other Competent
             Evidence On Damages.

      Because Plaintiffs’ only purported proof to the jury included their own brief

testimony of feeling humiliated, rather than the testimony of doctors, mental health

professionals, or others who observed their alleged distress, it was plainly

insufficient. As the Supreme Court noted in Carey, even though emotional distress

damages are “essentially subjective, genuine injury in this respect may be evidenced

by one’s conduct and observed by others.” 435 U.S. at 264 n.20 (emphasis added);

see also Rodgers, 739 F.2d at 1108 (same). In Pembaur, the Sixth Circuit noted a

plaintiff had presented sufficient evidence when he testified himself and presented

the testimony of a mental health professional. 739 F.2d at 1108. As demonstrated

supra, Plaintiffs presented no such testimony.

      Plaintiffs did not even seek the help of any mental health professional for their

alleged emotional distress, let alone bring a medical witness to testify at trial. (Trial

Tr., RE 169, PageID ##2854-2855.) Notably, Plaintiffs—though married and

admittedly spending much time together after the alleged incident with Defendant—

did not even present testimony to the jury of one another’s emotional distress. In not

one instance of the trial testimony did Mr. Ermold testify about his observations of

Mr. Moore’s claimed emotional distress, nor did Mr. Moore ever testify about his

observations of Mr. Ermold’s claimed emotional distress. The only purported


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evidence before the jury was Plaintiff Ermold’s brief testimony about his own

claimed emotional damages, and Plaintiffs Moore’s brief testimony about his own

claimed emotional damages, neither of which could be quantified, calculated, or

substantiated with any other proof. This falls far short of the mark required by Carey,

Rodgers, and Pembaur.

      Here, as demonstrated supra, Plaintiffs presented nothing more than mere

testimony that they were upset or felt humiliated. Plaintiffs’ testimony was limited

to “I’m just saying how I feel about” the damages award, “[t]hat’s how we felt”

about the damages award, “I don’t know how people calculate this stuff,” “I don’t

know what that’s worth,” and “I don’t know how to come to that number.” (See

supra Section I.B.) What Plaintiffs offered here was mere conclusions, admissions

that they did not know what provided the basis for their alleged damages, and could

not quantify any of it. That is simply insufficient. Plaintiffs bore the burden of proof

on their damages claims, and Plaintiffs failed to satisfy it. And, because they were

fully heard on the issue of damages yet failed to produce competent evidence to

justify any award of emotional distress damages, the district court should never have

given the matter to the jury.




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II.   THE DISTRICT COURT ERRED IN FINDING THAT DAVIS WAS
      NOT ENTITLED TO A REASONABLE ACCOMMODATION FOR
      HER SINCERELY HELD RELIGIOUS BELIEFS UNDER THE FIRST
      AMENDMENT AND KENTUCKY RELIGIOUS FREEDOM
      RESTORATION ACT.

      The district court held that, under Obergefell, Davis was not entitled to a

reasonable accommodation and that her reliance on the First Amendment to justify

her decision to follow her conscience did not permit her to “consciously disregard

her duties.” (Mem. Op., RE 108, PageID #1960.) That decision was in error.

      A.    The Commonwealth’s Failure To Grant Davis A Reasonable
            Accommodation For Her Sincerely Held Religious Beliefs Is
            Subject To Strict Scrutiny.

            1.     The Commonwealth’s failure to timely give Davis a
                   reasonable accommodation for her sincerely held religious
                   beliefs was neither neutral nor generally applicable.

      “A law burdening religious practice that is not neutral or not of general

application must undergo the most rigorous of scrutiny.” Church of the Lukumi

Babalus Aye, Inc. v. City of Hialeah, 508 U.S. 520, 546 (1993). “[G]overnment

regulations are not neutral and generally applicable, and therefore trigger strict

scrutiny under the Free Exercise Clause, whenever they treat any comparable secular

activity more favorably than religious exercise.” Tandon v. Newsom, 593 U.S. 61, 62

(2021). The Commonwealth’s failure to give Davis a timely and reasonable

accommodation for her sincerely held religious beliefs is subject to strict scrutiny

under the First Amendment because it was neither neutral nor generally applicable.


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                    a.     The Commonwealth’s failure to give Davis an
                           accommodation was not neutral.

      “Government fails to act neutrally when it proceeds in a manner intolerant of

religious beliefs or restricts practices because of their religious nature.” Fulton v.

City of Philadelphia, 593 U.S. 522, 533 (2021). “Here, that means the

[Commonwealth] was obliged under the Free Exercise Clause to proceed in a

manner neutral toward and tolerant of [Davis’s] religious beliefs.” Masterpiece

Cakeshop v. Colorado Civil Rights Comm’n., 584 U.S. 617, 638 (2018). Governor

Beshear’s Mandate was not neutral as demonstrated by its overt hostility towards

particular religious beliefs and the intentional denial of KRFRA rights implicit in the

Mandate.

      The Governor’s Mandate comprised several official and unilateral

pronouncements of Kentucky marriage policy by the Governor, beginning with the

Governor’s public assent to the Attorney General’s refusal to defend Kentucky’s

laws defining marriage on appeal based on his purported “pray[ing] over this

decision” and “doing what I think is right” and “mak[ing] a decision that I could be

proud of.” (RE 89-6, PageID #857.) Unlike his pronouncements to county clerks

such as (and specifically) Davis, the Governor did not lecture the Attorney General

that “when you accepted this job and took that oath, it puts you on a different level,”

or “[y]ou have official duties now that the state law puts on you.” (RE 89-5, PageID

#853.) Nor did Governor Beshear publicly chastise the Attorney General for
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“refusing to perform [his] duties” and failing to “follow[] the law and carry[] out

[his] duty,” or admonish Conway to “comply with the law regardless of [his]

personal beliefs” or resign. (Id.)

      In fact, contrary to how the Governor permitted the Attorney General to ignore

his sworn duties to defend the laws of the Commonwealth, the Governor said to

Davis that “if you are at that point to where your personal convictions tell you that

you simply cannot fulfill your duties that you were elected to do, then obviously the

honorable course to take is to resign and let someone else step-in who feels that they

can fulfill these duties.” (Id.) Thus, although Governor Beshear gave his Attorney

General a pass for his conscience about marriage without any threats of repercussion,

clerks like Davis were repeatedly told by Governor Beshear to abandon their

religiously informed beliefs or resign.

      Moreover, Governor Beshear flatly denied any accommodation to clerks

seeking a way to avoid having to issue the KDLA-prescribed marriage licenses under

their name and authority based on their religious objections to same-sex marriage,

but subsequently and gratuitously granted that very accommodation to same-sex

couples who received altered marriage licenses while Davis was in jail. (RE 27-4,

Page ID # 134.) Refusing an accommodation on religious grounds and then granting

it on nonreligious grounds is the opposite of religious neutrality.




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                    b.     The Commonwealth’s failure to give Davis an
                           accommodation was not generally applicable.

      Governor Beshear’s Mandate not only fails neutrality, it also fails general

applicability. “[N]eutrality and general applicability are interrelated, and . . . failure

to satisfy one requirement is a likely indication that the other has not been satisfied.”

Lukumi, 508 U.S. at 531. “A law is not generally applicable if it invites the

government to consider the particular reasons for a person’s conduct by providing a

mechanism for individualized exemptions.” Fulton, 593 U.S. at 533 (cleaned up). A

law can also fail general applicability “if it prohibits religious conduct while

permitting secular conduct that undermines the government’s asserted interests in a

similar way.” Id.

      In Fulton, the city policy that disqualified CSS from receiving foster care

referrals from the city reserved to a single city official the sole discretion to grant

exceptions to the policy. Id. at 535. The Supreme Court held that this “system of

individualized exemptions” rendered the policy not generally applicable, such that

the city “may not refuse to extend that exemption system to cases of religious

hardship without compelling reason.” Id. (cleaned up); see also Maryville Baptist

Church, Inc. v. Beshear, 957 F.3d 610, 614 (6th Cir. 2020) (“The real question goes

to exceptions.”); Roberts v. Neace, 958 F.3d 409, 413 (6th Cir. 2020) (“Faith-based

discrimination can come in many forms.”).



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      Here, the Governor’s authorizing alterations to the KDLA-prescribed

marriage license form, twice—once for same-sex couples who received licenses

while Davis was in jail, and again when Davis returned to work—proves that the

Governor reserved to himself the unfettered discretion to grant individualized

exceptions to his marriage license mandate. And, he exercised that discretion solely

for non-religious reasons. That is the definition of individualized exemptions that

preclude any finding of general applicability. Fulton, 593 U.S. at 534 (“A law also

lacks general applicability if it prohibits religious conduct while permitting secular

conduct that undermines the government’s asserted interests in a similar way.”).

      Moreover, the disparate treatment afforded to different government officials

concerning their official duties likewise demonstrates the Commonwealth’s

treatment of Davis was not generally applicable. The Commonwealth permitted the

Attorney General to ignore his duty to defend the Commonwealth’s laws, i.e.,

provided him an accommodation for his convictions, but denied that same exemption

to Davis who sought accommodation, on religious grounds, to refrain from lending

her name to a same-sex marriage license as a matter of conscience.

      Finally, the Commonwealth’s statutory exemption for clerks in other licensing

contexts negates the general applicability of Governor Beshear’s marriage license

mandate here. The Commonwealth statutorily provides that county clerks with

conscience or other objections may be excused (i.e., accommodated) from issuing


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hunting and fishing licenses. See KRS §150.195(2). The Commonwealth makes it

automatic for a clerk seeking such an accommodation stating that all clerks “may, at

any time during [their] term in office, apply in writing for an exemption from the

requirement that he or she sell licenses,” and mandates that the commissioner grant

the exemption. Id.

       Thus, the Governor’s mandate not only fails neutrality, but it also fails general

applicability at numerous levels, and is unconstitutional under the First Amendment

unless it satisfies strict scrutiny, which it cannot.

              2.     The Commonwealth’s failure to timely grant Davis a
                     reasonable accommodation for her sincerely held religious
                     beliefs constitutes a substantial burden under Kentucky
                     RFRA.

       The Governor’s Mandate forcing Davis to authorize marriage licenses for

same-sex couples substantially burdened her religious exercise as protected by

Kentucky RFRA. Kentucky RFRA protects a “person’s,” including Davis’s, “right

to act or refuse to act in a manner motivated by a sincerely held religious belief,”

mandating that such person’s right “may not be substantially burdened.” KRS

§446.350. As such, the Kentucky RFRA protects not only a person’s beliefs but also

a person’s actions (or non-actions) and subjugates to the strictest scrutiny any

governmental action (be it legislative, regulatory, executive, or judicial action)

substantially burdening religiously-motivated actions (or non-actions). As the



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Supreme Court noted, RFRAs “operate as kind of a super statute, displacing the

operation of other laws.” Bostock v. Clayton Cnty., 590 U.S. 644, 682 (2020).

      As shown above, Kentucky marriage law predating Obergefell required that

“each county clerk” use the same prescribed form to issue a marriage license. KRS

§§402.100, 402.110. As county clerk, Davis was provided the form by the KDLA,

and she had no local discretion in the composition and requirements of that

prescribed form. By legislative enactment predating Obergefell, this form included:

(1) an “authorization statement of the county clerk issuing the license”; (2) “the

signature of the county clerk or deputy clerk issuing the license”; (3) “[a] signed

statement by the county clerk or a deputy county clerk of the county in which the

marriage license was issued”; and (4) the “the name of the county clerk under whose

authority the license was issued.” KRS §402.100(1)–(3). Thus, before Obergefell, as

county clerk, Davis had to include her name, signature, and approval four times on

marriage licenses she signed. Even on licenses that she did not sign, the KDLA-

approved form required Davis to put her imprimatur on each and every marriage

license issued in her county. Id.

      Governor Beshear unilaterally directed the KDLA to prepare a revised

mandatory form in response to Obergefell, which the KDLA distributed to county

clerks for immediate, mandatory use, without exception. (RE 89-10, PageID ##874-

75, ¶¶25–26; RE 92-3, PageID #1673.) The new form provided no opportunity for


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county clerks (or their deputy clerks) with religious objections to opt out of

participating in endorsement and approval of same-sex marriage. On this new form,

as conceived by Governor Beshear and KDLA, the “authorization” or permission to

marry (even on licenses she did not personally sign) still unmistakably came from

Davis herself. (RE 92-3, PageID, #1675.). As with the old forms, the new KDLA-

approved form required Davis to put her imprimatur on each and every marriage

license issued in her county. (Id.)

      But, as shown above, Davis cannot sanction, endorse, and approve a union of

two persons which, according to her sincerely held religious beliefs, is not marriage.

Coercing Davis to choose between endorsing relationships inconsistent with her

beliefs or resigning from her office, as Governor Beshear’s Mandate did, burdened

Davis’s religious exercise as a matter of law.

      “[T]he question that RFRA presents [is] whether the [Governor’s] mandate

imposes a substantial burden on the ability of the objecting parties to conduct

business in accordance with their religious beliefs.” Burwell v. Hobby Lobby Stores,

Inc., 573 U.S. 682, 724 (2014). Notably, the substantial burden inquiry does not

address the “very different question that the federal courts have no business

addressing (whether the religious belief asserted in a RFRA case is reasonable).” Id.

This Court has held that a substantial burden under RFRA is caused whenever the

government’s action places more than “mere inconvenience” on religious exercise,


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New Doe Child #1 v. Congress of United States, 891 F.3d 578, 590 (6th Cir. 2018).

As in Hobby Lobby, Davis here believes compliance with the Mandate is immoral.

Davis’s “belief implicated a difficult and important question of religion and moral

philosophy, namely the circumstances under which it is wrong for a person to

perform an act that is innocent in itself but that has the effect of enabling or

facilitating the immoral act by another.” 573 U.S. at 724 As such, forcing Davis to

chose between her religious convictions and following the Commonwealth’s

Mandate that she perform an act she views as immoral was a substantial burden. Id.

See also Fulton, 593 U.S. at 532 (noting that it imposes a substantial burden on

religious convictions for the government to put religious adherent “to the choice”

between their religious beliefs “approving relationships inconsistent with its

beliefs”).

      Fulton and Hobby Lobby plainly require a finding that the Commonwealth’s

Mandate on Davis substantially burdened her religious beliefs. There was no dispute

that Davis believed “certification is tantamount to endorsement” as it relates to

marriage licenses. Fulton, 593 U.S. at 532. Neither Plaintiffs, the district court, nor

this Court are permitted to cast Davis’s belief aside as not “logical” or not

“comprehensible” to conclude that her religious exercise was not burdened. Id. There

is no dispute that Davis sincerely believed that her name, signature, and

authorization on marriage licenses would constitute an endorsement of same-sex


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relationships, which would violate her religious beliefs. As such, Governor

Beshear’s Mandate indisputably burdened Davis’s religious exercise as a matter of

settled law. Simply put, “the Governor’s actions substantially burden [Davis’s]

sincerely held religious practices—and plainly so. Religion motives” Davis’s

decision. Maryville Baptist Church, Inc. v. Beshear, 957 F.3d 610, 613 (6th Cir.

2020).

      B.    The Commonwealth’s Failure To Timely Grant Davis A Reasonable
            Accommodation For Her Sincerely Held Religious Beliefs Cannot
            Survive Strict Scrutiny.

      Because the Commonwealth’s Mandate substantially burdened Davis’s

religious convictions in a manner that was neither neutral nor generally applicable,

the First Amendment and Kentucky RFRA require a demonstration that the Mandate

was (1) supported by a compelling governmental interest, and (2) there were no less

restrictive means to accomplish that interest. This is “the most demanding test

known to constitutional law.” City of Boerne v. Flores, 521 US. 507, 534 (1997).

Indeed, “[t]hat standard is not watered down; it really means what it says.” Tandon,

593 U.S. at 65.

      To meet this burden, the government would have to show it “seriously

undertook to address the problem with less intrusive tools readily available to it,”

meaning that it “considered different methods that other jurisdictions have found

effective.” McCullen v. Coakley, 573 U.S. 464, 494 (2014). And the government


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would have to “show either that substantially less-restrictive alternatives were tried

and failed, or that the alternatives were closely examined and ruled out for good

reason,” Bruni v. City of Pittsburgh, 824 F.3d 353, 370 (3d Cir. 2016), and that

“imposing lesser burdens on religious liberty ‘would fail to achieve the

government’s interests, not simply that the chosen route was easier.’” Agudath Israel

of Am. v. Cuomo, 983 F.3d 620, 633 (2d Cir. 2020) (quoting McCullen, 573 U.S. at

495). The Commonwealth’s treatment of Davis fails that test.

             1.     The Commonwealth had no compelling interest in refusing
                    to extend reasonable accommodations to Davis’s sincere
                    religious beliefs.

      There is no compelling governmental interest in forcing Davis to violate her

religious freedom. In Hobby Lobby, the Supreme Court emphasized that the similar

federal RFRA “contemplates a ‘more focused’ inquiry” in considering government’s

purported interests. 573 U.S. at 726. This inquiry “requires the Government to

demonstrate that the compelling interest test is satisfied through application of the

challenged law ‘to the person’—the particular claimant whose sincere exercise of

religions is being substantially burdened,” Gonzales v. O Centro Espirita Beneficente

Uniao do Vegetal, 546 U.S. 418, 430–31 (2006) (quoting 42 U.S.C. § 2000bb-1(b)),

and further requires courts “to ‘loo[k] beyond broadly formulated interests’ and to

‘scrutiniz[e] the asserted harm of granting specific exemptions to particular religious

claimants’—in other words, to look to the marginal interest in enforcing” the


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marriage license mandate in this case. See Hobby Lobby, 573 U.S. at 727 (quoting

O Centro, 546 U.S. at 431).

      The Governor’s Mandate was neither expressly nor impliedly compelled by

Obergefell, and left no room for individual county clerk’s religious freedoms under

the Kentucky RFRA and First Amendment. Immediately following Obergefell, the

Governor, on his own initiative, implemented his Mandate based upon a misreading

of what the Obergefell decision “makes plain.” (Mandate, RE 88-3, PageID #744.)

In Obergefell, the Supreme Court unanimously agreed that First Amendment

protections remain despite its creation of a constitutional right to same-sex marriage.

The majority noted that “those who adhere to religious doctrines may continue to

advocate with utmost, sincere conviction,” and that the “First Amendment ensures

that religious organizations and persons are given proper protection.” 576 U.S. at

680. Moreover, Kentucky RFRA requires that Davis receive statutory protection for

her “refusal to act” based on her sincere religious convictions. KRS §446.350.

      The Governor was thus under no compulsion to order each and every

individual Kentucky County Clerk to authorize and approve same-sex marriage

regardless of religious beliefs. Neither the Governor’s obtuse refusal to

accommodate sincere religious convictions in his Mandate, nor the district court’s

countenance of it, are supported by a compelling interest.




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      The refusal to provide Davis a reasonable accommodation for her religious

beliefs is not just unsupported by a compelling interest, but the compelling interest

favors granting her an accommodation. This Court has found that “[o]ur Nation’s

history is replete with accommodation of religion.” ACLU v. Mercer Cnty., Ky., 432

F.3d 624, 639 (6th Cir. 2005), and the “government may (and sometimes must)

accommodate religious practices and that it may do so without violating the

Establishment Clause.” Hobbie v. Unemployment Appeals Comm’n of Fla., 480 U.S.

136, 144-45 (1987).

      Finally, any purported government interest in enforcing the Mandate without

exemption is undermined the Governor’s treatment of the Attorney General when he

sought accommodation and excuse for his failure to defend Kentucky’s laws. (See

supra Section II.) The Commonwealth’s disparate treatment between Davis and the

Attorney General “cannot be regarded as protecting an interest of the highest order

when it leaves appreciable damage to that supposedly vital interest unprohibited.”

Republican Party of Minn. v. White, 536 U.S. 765, 780 (2002) (emphasis added)

(cleaned up). Where, as here, the Governor permitted exceptions, the Supreme Court

has recognized that such exceptions “can raise doubts about whether the government

is in fact pursuing the interest it invokes, rather than disfavoring a particular

[individual].” Williams-Yulee v. Florida Bar, 575 U.S. 433, 448 (2015) (cleaned up).

“Where a regulation already provides an exception from the law for a particular


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group, the government will have a higher burden in showing that the law . . . furthers

a compelling interest.” McAllen Grave Brethren Church v. Salazar, 764 F.3d 465,

472 (5th Cir. 2014) (emphasis added). Thus, because the Commonwealth

demonstrated it was willing to make exceptions for some, but not Davis, it

demonstrated its Mandate was not supported by a compelling interest.

             2.     The Commonwealth’s refusal to grant Davis a reasonable
                    accommodation for her sincere religious beliefs was not the
                    least restrictive means.

      Even if there was a compelling interest in refusing Davis’s request for an

accommodation, which there is not, the refusal to extend Davis some

accommodation must still be the least restrictive means of achieving that interest.

“The least-restrictive-means standard is exceptionally demanding.” Hobby Lobby,

573 U.S. at 728. Plaintiffs have adduced no evidence that Kentucky “lack[ed] other

means” of issuing marriage licenses “without imposing a substantial burden” on

Davis’s “exercise of religion.” See id. And, there were abundant alternatives that

would have achieved the government’s purported interest in effectuating the

Supreme Court’s decision in Obergefell without running roughshod over Davis’s

constitutionally and statutorily protected religious exercise.

      First, the Governor could have modified the KDLA-prescribed form to

remove the personal authorization and approval of county clerks. And, there is little

doubt that he had the authority to do so given that he announced he could modify the


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form at his whim in the moments that followed the release of the Supreme Court’s

decision in Obergefell. (RE 27-1, PageID #138.) Moreover, the Governor

effectuated the same change to the form while Davis was incarcerated for exercising

her beliefs, and he did so again upon her return to work. (See RE 27-4, PageID #134.)

And, if the authority of the Governor to grant that accommodation were still in

question, which it is not, his successor, Governor Bevin, effectuated the same

accommodation on a statewide basis through his Executive Order 2015-048, and the

Kentucky legislature did so on a permanent basis by enacting SB 216. (Executive

Order, RE 29-1, PageID ##174-176.) There is no reason at all why these less

restrictive means could not have been implemented by the Governor before Davis

was incarcerated for exercising her religious beliefs, and before Plaintiffs’ cause of

action against her accrued.

      Second, the Commonwealth could have designated other persons who are able

to issue marriage licenses in a particular county in the event the county clerk has a

religious objection to issuing such licenses, structured similarly to the statute that

already allows a county judge/executive to issue a marriage license in the absence

of the county clerk. See KRS §402.240.

      Third, the Commonwealth could have provided an opt-out or exemption to

county clerks who have a religious objection to issuing marriage licenses to same-

sex couples bearing the clerks’ names and authorizations. And, it is beyond cavil


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that the Commonwealth could have done precisely that since it already does so in

the context of hunting and fishing licenses. See KRS §150.195(2). And, other states,

such as North Carolina, have provided precisely this type of remedy to conscientious

objectors to participating in same-sex marriage. See, e.g., N.C. Gen. Stat. §51-5.5.

      Fourth, Kentucky could have effected the issuance of marriage licenses at the

state-level through an online or other state-wide licensing scheme that removes

county clerks as state agents for authorizing and approving licenses. That this option

(or any of the other alternatives, for that matter) might have cost the government

some expense is irrelevant because “some circumstances may require the

government to expend additional funds to accommodate citizens’ religious beliefs.”

Hobby Lobby, 573 U.S. at 730.

      As demonstrated by the Commonwealth’s own statutory scheme, the previous

Governor’s acceptance of multiple accommodations, Governor Bevin’s subsequent

executive action to provide Davis an accommodation, and the legislature unanimous

adoption of the precise accommodation Davis was requesting, the Commonwealth’s

failure to grant Davis a simple accommodation for her constitutionally protected

religious exercise was not the least restrictive means. The Commonwealth’s failure

to provide accommodation for Davis fails strict scrutiny. The First Amendment and

Kentucky RFRA demanded Davis receive an accommodation, and the district

court’s refusal to recognize that reality was in error.


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III.   THE DISTRICT COURT ERRED BY FINDING THAT OBERGEFELL
       CREATED A CLEARLY ESTABLISHED CONSTITUTIONAL RIGHT
       THAT SUPERCEDED DAVIS’S PRE-EXISTING FUNDAMENTAL,
       TEXTUAL CONSTITUTIONAL RIGHTS TO RELIGIOUS
       EXERCISE.

       A.    The District Court Erred By Describing The Alleged Right Too
             Generally.

       The Supreme Court has made clear that courts cannot describe an alleged

constitutional right too generally. Plumhoff v. Rickard, 572 U.S. 765, 779 (2014)

(“We have repeatedly told courts not to define clearly established law at a high level

of generality . . . since doing so avoids the crucial question of whether the official

acted reasonably in the particular circumstances.”)

       As this Court has noted, “[t]he level of generality at which the constitutional

right in question is defined is of great importance.” Occupy Nashville v. Haslam,

769 F.3d 434, 443 (6th Cir. 2014); id. at 444 (“There must be specificity in the

definition of the right at stake.”). “In some circumstances, as when an earlier case

leaves open whether a general rule applies to the particular type of conduct at issue,

a very high degree a prior factual particularity may be necessary.” United States v.

Lanier, 520 U.S. 259, 271 (1997) (emphasis added). Indeed, “[t]he Supreme Court

has ‘repeatedly told courts . . . not to define clearly established law at a high level of

generality, since doing so avoids the crucial question whether the official acted

reasonably in the particular circumstances that he or she faced.’” Occupy Nashville,

769 F.3d at 443 (quoting Plumhoff, 572 U.S. at 779).
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      In Occupy Nashville, plaintiffs alleged that their right was the “clearly

established First Amendment right to be present on the plaza to air their grievances

against the government.” Id. The officials, however, claimed that the right needed to

be more particularized than the general First Amendment right to air grievances, and

argued that it must be described with particularity as to the specific situation and

circumstances under which the plaintiffs wanted to exercise that right. Id. The

officials claimed that the right must be described as the right to a “24-hour

occupation” of the plaza to engage in their First Amendment rights. Id. This Court

agreed with the officials, noting that a general assertion of right under a specific

amendment is too broad. Id.

      Here, Plaintiffs alleged that the clearly established right is simply the “right

to marry” under the Fourteenth Amendment. (Am. Compl., RE 27, PageID ##121,

124, ¶¶ 21, 43.) This is precisely the type of abstraction that the Supreme Court faced

(and rejected) in Anderson v. Creighton. 483 U.S. 635 (1987). There, the Supreme

Court was presented with allegations that the government official had violated the

clearly established right to due process. Id. at 639. The operation of whether a

government official (including Davis) was liable for alleged violation of Plaintiffs’

allegedly clearly established constitutional right, the Court held, “depends

substantially upon the level of generality at which the ‘legal rule’ is to be identified.”

Id. And, Plaintiffs’ assertion—and the district court’s adoption of that purportedly


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clearly established constitutional right (Mem. Op., RE 108, PageID ##1956-1960)—

presented this issue in too general of terms.

      For example, the right to due process of law is quite clearly established
      by the Due Process Clause, and thus there is a sense in which any action
      that violates that Clause (no matter how unclear it may be that the
      particular action is a violation) violates a clearly established right.
      Much the same could be said of any other constitutional or statutory
      violation.

Anderson, 483 U.S. at 639.

      What Plaintiffs were required to allege, and what the district court was

required to find, was an alleged violation of a clearly established constitutional right

articulated with specificity and particularity: Whether Plaintiffs have a clearly

established right to obtain a marriage license from a particular government official,

in a particular place, on a particular form, without any accommodation for such

official’s sincerely held religious beliefs. The district court, however, simply said

that “Obergefell recognizes Plaintiffs’ Fourteenth Amendment right to marry.”

(Mem. Op., RE 108, PageID ##1956.) Obergefell did not hold, however, that the

right to marry comes with the concomitant (and therefore clearly established) right

to receive a particular marriage license signed and solemnized by a particular

individual, without any accommodation for sincerely held religious beliefs. “It

should not be surprising, therefore, that our cases establish that the right the official

is alleged to have violated must have been clearly established in a more

particularized, and hence more relevant, sense.” Anderson, 483 U.S. at 640.
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Plaintiffs’ “right to marry” was simply too general to adequately address the scope

of Davis’s actions and their alleged unlawfulness.

      B.     Regardless Of The Holding Of Obergefell, It Was Not Clearly
             Established In 2015, And It Is Not Clearly Established Now, That
             Obergefell’s Holding Vitiated Textual First Amendment Rights To
             Free Exercise Of Religion.

      Regardless of the holding of Obergefell in relation to same-sex marriage, what

is plain is that the decision did not establish the precise contours of that right or its

interplay with other clearly established constitutional rights. As the Supreme Court

has noted, a particularized articulation of the alleged clearly established right does

not, of course, require that in every clearly established inquiry “the very action in

question has been previously held unlawful.” Anderson, 483 U.S. at 640. But, “is it

to say that in light of the pre-existing law the unlawfulness must have been

apparent.” Id. (emphasis added). “The contours of the right must be sufficiently clear

that a reasonable official would understand that what he is doing violates that right.”

Kennedy v. City of Villa Hills, 635 F.3d 210, 214 (6th Cir. 2011) (emphasis added)

(cleaned up). “For a constitutional right to be clearly established, as this Court has

repeatedly noted, ‘the law must be clear in regard to the official’s particular actions

in the particular situation.’” Saylor v. Bd. of Educ. of Harlan Cnty., 118 F.3d 507,

515 (6th Cir. 1997) (emphasis added) (quoting Long v. Norris, 929 F.2d 1111, 1114

(6th Cir. 1991)). Indeed, “pre-existing law must dictate, that is, truly compel (not just

suggest or allow or raise a question about), the conclusion for every like-situated,
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reasonable government agent that what the defendant is doing violates federal law

in the circumstances. Id. (quoting Lassiter v. Ala. A&M Univ., 28 F.3d 1146, 1150

(11th Cir. 1994) (en banc) (emphasis added)).

      In deciding whether a constitutional right is clearly established, the Sixth

Circuit “‘look[s] first to decisions of the Supreme Court, then to decisions of this

court and other courts within our circuit, and finally to decisions of other circuits.’”

Walton v. City of Southfield, 995 F.2d 1331, 1336 (6th Cir. 1993) (quoting Daugherty

v. Campbell, 935 F.2d 780, 784 (6th Cir. 1991)); see also O’Malley v. City of Flint,

652 F.3d 662, 667-68 (6th Cir. 2011). “This standard requires the courts to examine

the asserted right at a relatively high level of specificity,” and “on a fact-specific,

case-by-case basis.” Cope v. Heltsley, 128 F.3d 452, 458–59 (6th Cir. 1997)

(emphasis added) (cleaned up). Where a case arises in an area “in which the result

depends very much on the facts of each case,” and no case “squarely governs the

case here,” no clearly established right is demonstrated. See Brosseau v. Haugen,

543 U.S. 194, 201 (2004).

      It is beyond cavil that the particularized contours of the right Obergefell

created was not ironed out with sufficient clarity such that the unlawfulness of

Davis’s actions was readily apparent to even the most casual observer. Far from it.

In fact, since the time of Obergefell, the Supreme Court has confronted a number of

questions that have ironed out the interplay between Obergefell and other pre-


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existing constitutional rights. See, e.g., Masterpiece Cakeshop v. Colorado Civil

Rights Comm’n, 584 U.S. 617 (2018) (determining the interplay between the rights

of same-sex couples to marry and receive goods and services pertaining to that

marriage ceremony with an individual’s First Amendment rights to religious

expression and exercise); 303 Creative LLC v. Elenis, 600 U.S. 570 (2023) (same).

      In Masterpiece Cakeshop, the Court noted—unremarkably—that there are

certain circumstances under which an individual is excused from the performance of

some other obligation by virtue of his religious beliefs. 584 U.S. at 632. Specifically,

as it related to weddings and marriages, the Court noted that there are instances

where an individual would refuse to participate in the solemnization of a same-sex

wedding on the basis of sincerely held religious beliefs, and that such “refusal would

be well understood in our constitutional order as an exercise of religion, an exercise

that gay persons could recognize and accept without serious diminishment to their

own dignity and worth.” Id.

      And in 2023, five years after Masterpiece Cakeshop and eight years after

Obergefell was decided, the Supreme Court was still defining the precise contours

of how Obergefell interacted with the First Amendment rights of others. 303

Creative, 600 U.S. at 588 (determining whether the state had the authority under the

First Amendment to “force [an individual] to create custom websites celebrating

other marriages she does not [endorse]” for the sole purpose of eliminating


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“dissenting ideas about marriage” and “excis[ing] certain ideas or viewpoints from

the public dialogue.”)

      Or, more proximate in time to Davis’s question below, take Pavan v. Smith,

582 U.S. 563 (2017), where the Supreme Court decided upon the interplay between

a statutory question regarding birth certificates and the right created in Obergefell.

Was it clearly established enough that Obergefell perforce required Arkansas to

abandon its statute mandating the names of the birth mother and birth father to be

listed on the birth certificate? Plainly not, since the Supreme Court took another two

years after Obergefell to answer that question. Yet, the district court and Plaintiffs

below tasked Davis with predicting the future as to how the Court would rule on

questions relating to her own constitutional rights. Such is not the law, and holding

Davis personally liable for hundreds of thousands of dollars for the exercise of her

clearly established conscience rights, because a heretofore unknown right had just

been created, ignores long-standing precedent.

      As the Supreme Court of Texas noted, “[t]he Court’s decision to hear and

consider Masterpiece Cakeshop illustrates that neither Obergefell nor Pavan

provides the final word on the tangential questions Obergefell’s holdings raise but

Obergefell itself did not address.” Pidgeon v. Turner, 538 S.W.3d 73, 89 n.22 (Tex.

2017). If, after eight years the Supreme Court is still defining the precise contours

of the right established in Obergefell, particularly as it relates to the interplay


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between that right of same-sex couples and the textual First Amendment rights of

religious conscience and exercise for others, then there can be no dispute that there

was no clearly established right to force Davis to violate her conscience in 2015.

      And, the questions of the interplay between government officials’

constitutional right to exercise religion and Obergefell’s creation of a right to same-

sex marriage are still being discussed and litigated. Less than one month before the

filing of the instant brief (and nine years after Obergefell was decided), the Supreme

Court of Texas was faced with a challenge from a justice of the peace concerning the

permissibility of the government forcing her to officiate same-sex wedding against

her religious beliefs. See Hensley v. State Comm’n on Judicial Conduct, 2024 WL

3210043 (Tex. June 28, 2024). Hensley sought an accommodation for her religious

beliefs to not officiate same-sex marriages, and the judicial commission issued her a

public reprimand. Id. at *1. The Texas Supreme Court permitted her case to proceed

as to whether she was entitled to that accommodation. Id. at *11. Two justices on the

court stated that such an official was entitled to the type of accommodation that

Davis sought nine years ago. See id. at *11 (Blackslock, J., concurring) (“Judge

Hensley's eminently reasonable policy honored her personal convictions and showed

courtesy to same-sex couples, who the U.S. Supreme Court has said are entitled to a

marriage—not to a particular marriage officiant, and especially not to an officiant

with religious objections to participating in the ceremony.” (emphasis added)).


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      If the courts across the country are still wrestling with this issue, including the

Supreme Court just one year ago, it cannot be gainsaid that Davis was not in

violation of a clearly established constitutional right nine years ago. The district

court’s decision to the contrary was in error and should be reversed.

IV.   OBERGEFELL SHOULD BE OVERTURNED FOR THE SAME
      REASONS ARTICULATED BY THE COURT IN DOBBS.2

      A.     Obergefell Was Wrong When It Was Decided And It Is Wrong
             Today Because It Was Based Entirely On The “Legal Fiction” Of
             Substantive Due Process, Which Lacks Any Basis in The
             Constitution.3

      As the Supreme Court noted in Dobbs v. Jackson Women’s Health

Organization, “stare decisis is not an inexorable command” and “is at its weakest

when we interpret the Constitution.” 597 U.S. 215, 264 (2022). “[W]hen it comes to

the interpretation of the Constitution—the ‘great charter of our liberties,’ which was

meant to endure through the long lapse of the ages—we place a high value on having


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       Davis acknowledges that this Court does not have the authority to overrule
Supreme Court precedent. See Thurston Motor Lines, Inc. v. Jordan K. Rand, Ltd.,
460 U.S. 533, 535 (1983). Nevertheless, she must present her argument to preserve
it. Sprietsma v. Mercury Marine, 537 U.S. 51, 56 n.4 (2002).
3
       Obergefell based its recognition of a constitutional right to same-sex marriage
under the Due Process and Equal Protection Clauses of the Fourteenth Amendment,
but explicitly noted that “the two Clauses converge in the identification and
definition of the right” because of the “interlocking nature of these constitutional
safeguards.” 576 U.S. at 672, 674. Thus, to the extent that Obergefell holds that the
right to same-sex marriage is protected by the Equal Protection Clause, it was
because of its interrelation with the Court’s substantive due process analysis. The
two theories rise and fall together.
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the matter settled right.” Id. (cleaned up). And, “when one of our constitutional

decisions goes astray, the country is usually stuck with the bad decision unless we

correct our own mistake.” Id. Therefore, in appropriate circumstances we must be

willing to reconsider, and if necessary, overrule constitutional decisions.” Id. The

Court’s decision in Obergefell—grounded in the erroneous fiction of substantive due

process—is such a decision and the mistake must be corrected. Indeed, three of the

“five lawyers who happen[ed] to hold commissions authorizing them to resolve legal

disputes” in 2015 and “announce[d]” a right that “has no basis in the Constitution or

this Court’s precedent,” Obergefell, 576 U.S. at 687 (Roberts, C.J., dissenting), are

no longer so commissioned.

      Obergefell was “egregiously wrong,” “deeply damaging,” “far outside the

bound of any reasonable interpretation of the various constitutional provisions to

which it vaguely pointed,” and set out “on a collision course with the Constitution

from the day it was decided.” Dobbs, 597 U.S. at 268. Moreover, Obergefell’s “errors

do not concern some arcane corner of the law of little importance to the American

people,” but “usurped the power to address a question of profound moral and social

importance that the Constitution unequivocally leaves for the people.” Id.

      As Justice Thomas correctly opined, “historical evidence indicates that ‘due

process of law’ merely required executive and judicial actors to comply with

legislative enactments and the common law when depriving a person of life, liberty,


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or property.” Id. at 331 (Thomas, J., concurring). Other interpretations, he continued,

merely required that an individual be afforded “the customary procedures to which

freemen were entitled by the old law of England.” Id. But, “[e]ither way, the Due

Process Clause at most guarantees process.” Id. “It does not, as the Court’s

substantive due process cases suppose, forbid the government to infringe certain

fundamental liberty interests at all, no matter what process is involved.” Id. (cleaned

up). As with abortion in Dobbs, “[b]ecause the Due Process Clause does not secure

any substantive rights, it does not secure a right to [same-sex marriage],” id., and

especially not a right to receive a same-sex marriage license from a specific

government official, regardless of that individual’s religious convictions.

      The instant case presents the unique opportunity to revisit the entirety of the

“oxymoron” of substantive due process that “lacks any basis in the Constitution.”

Id. Specifically, Davis’s appeal demonstrates the need to “reconsider all of th[e]

Court’s substantive due process precedents, including Griswold [v. Connecticut],

Lawrence [v. Texas], and Obergefell.” Id. at 332. The reason for that is simple:

“[b]ecause any substantive due process decision is demonstrably erroneous, we have

a duty to correct the error established in those precedents.” Id.

      Davis’s appeal demonstrates why the “legal fiction” of substantive due

process is “particularly dangerous.” Id. It “exalts judges at the expense of the People

from whom they derive their authority,” “distorts other areas of constitutional law,”


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and is “wielded to disastrous ends.” Id. at 333-35. Davis sought refuge in the textual

protection of the First Amendment’s Free Exercise Clause for an accommodation of

her sincerely held religious beliefs, but Obergefell was wielded to land her in a jail

cell—and now subject her to a debilitating money judgment—for seeking protection

in the Constitution’s plain text. As Justice Thomas previously opined in this case:

“By choosing to privilege a novel constitutional right over the religious liberty

interests explicitly protected in the First Amendment, and by doing so

undemocratically, the Court has created a problem that only it can fix.” Davis v.

Ermold, 141 S. Ct. 3, 4 (2020) (Thomas, J., concurring). The time has come for a

course correction.

      “Davis may have been one of the first victims of th[e] Court’s cavalier

treatment of religion in its Obergefell decision, but she will not be the last.” Id. at 3.

Because it was grounded in substantive due process, Obergefell has produced

disastrous results for individuals like Davis, who “find it increasingly difficult to

participate in society without running afoul of Obergefell and its effect on other

antidiscrimination laws.” Id. at 3-4. And, until the Court revisits its “creation of

atextual constitutional rights,” Obergefell “will continue to have ruinous

consequences for religious liberty.” Id. at 4.




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      B.     Even If Substantive Due Process Is Not Itself Overturned,
             Obergefell Should Be, Because The Right To Same-Sex Marriage Is
             Neither Carefully Described Nor Deeply Rooted In The Nation’s
             History.

      Obergefell should also be overturned because—assuming that the substantive

due process fiction remains—it failed to follow the “disciplined” inquiry outlined in

Washington v. Glucksberg, 521 U.S. 702 (1997). See Dep’t of State v. Munoz, 144 S.

Ct. 1812, 1821 (2024). Glucksberg requires the Court to “insist on a careful

description of the asserted fundamental liberty interest,” and “protects only those

fundamental rights and liberties which are objectively, deeply rooted in this Nation’s

history and tradition.” Id. (quoting Glucksberg, 521 U.S. at 720-21). Obergefell

satisfied neither requirement, and its Fourteenth Amendment Due Process and Equal

Protection conclusions should be overturned.

             1.     Obergefell did not even attempt a careful description of the
                    right at issue, but explicitly shirked that requirement.

      In Obergefell, the Court did not even attempt to satisfy Glucksberg’s primary

requirement of carefully describing the right at issue. Rather, the Obergefell majority

explicitly disclaimed any efforts to provide a careful description of the alleged right.

Obergefell plainly recognized that “Glucksberg did insist that liberty under the Due

Process Clause must be defined in a most circumscribed manner, with central

reference to specific historical practices.” 576 U.S. at 671. But, rather than attempt

to meet that high bar, the Court discarded it to reach the basis for the so-called right


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to same-sex marriage. Specifically, the majority in Obergefell stated that while such

an arcane “approach may have been appropriate for the asserted right there

involved,” it was not pertinent to its quest to ascertain a new, heretofore historically

unknown right. Id. As Chief Justice Roberts put it, Obergefell went “out of its way

to jettison the careful approach to implied fundamental rights” required by

Glucksberg.” 576 U.S. at 702 (Roberts, C.J., dissenting). The reason for that was

simple, the majority in Obergefell could find “little support” from the Court’s

precedent. Simply put, “[n]obody could rightly accuse the majority of taking a

careful approach” in determining and describing the alleged fundamental right. Id.

at 702-03.

              2.    Obergefell’s atextual rights creation was not deeply rooted in
                    the Nation’s history or traditions.

      Obergefell was not grounded in the Nation’s history or traditions, nor could it

have been because it was not rooted in any nation’s history or traditions. As Chief

Justice Roberts noted, the right that the Obergefell majority created out of whole

cloth was inconsistent with “the meaning of marriage that has persisted in every

culture throughout human history.” Obergefell, 576 U.S. at 687 (Roberts, C.J.,

dissenting). Indeed, “marriage has existed for millennia and across civilizations

[and] [f]or all those millennia, across all those civilizations, marriage referred to only

one relationship: the union of a man and a woman.” Id. See also id. at 718 (Scalia,

J., dissenting) (noting that marriage as the union of a man and a woman was “the
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unanimous judgment of all generations and all societies”); id. (noting that the

majority in Obergefell had “discovered in the Fourteenth Amendment a

‘fundamental right’ overlooked by every person alive at the time of ratification, and

almost everyone else in the time since.”).

                                 CONCLUSION

      For the foregoing reasons, the judgment and orders of the district court should

be reversed.

                                             Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 22nd day of July, 2024, I caused a true and correct

copy of the foregoing to be electronically filed with this Court. Service will therefore

be effectuated on all counsel of record via this Court’s ECF/electronic notification

system.

                                               /s/ Daniel J. Schmid
                                               Daniel J. Schmid




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                               ADDENDUM
           Designation of Relevant District Court Documents
      Pursuant to 6 Cir. R. 28(b)(1)(A)(i) and 6 Cir. R 30(g)(1)(A)-(C)

Record Entry No.                Document Description
RE 1, PageID #1-7               Complaint

RE 19, PageID #95-97            In re: Ashland Civil Actions: Order

RE 20, PageID #98-100           Notice of Appeal

RE 26, PageID #117-118          Order Granting Plaintiffs Leave to Amend
                                Complaint

RE 27, PageID #121-             First Amended Complaint with Jury Demand

RE 27-1, PageID #128            Governor Beshear’s June 26, 2015 Letter to
                                Clerks

RE 27-2, PageID #129-130        Kentucky Marriage License

RE 27-4, PageID #134-136        CNN Article, Kim Davis stands ground, but
                                same-sex couple get marriage license

RE 29-1, PageID #174-177        Executive Order 2015-048, Relating to the
                                Commonwealth’s Marriage License Form

RE 49, PageID #294-314          Memorandum Opinion and Order on Kim
                                Davis’s Motion to Dismiss

Re 89-5, PageID #853-854        Article, Gov. Beshear Tells County Clerks to
                                Fulfill Their Duties or Resign

RE 89-6, PageID #855-857        WKYT Article, Jack Conway’s Statement on
                                same-sex marriage

RE 89-10, PageID #866-897       Verified Third Party Complaint of Defendant
                                Kim Davis


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RE 89-12, PageID #899        Kim Davis Letter to Kentucky Senator
                             Robertson

RE 89-13, PageID #900        Kim Davis Letter to Senator Steven Beshear

RE 89-14, PageID #901-903    Motion of Kentucky Senate President, Hon.
                             Robert Stivers for Leave to File Brief as
                             Amicus Curiae

RE 89-15, PageID #904-909    Amicus Curiae Brief of Kentucky Senate
                             President, Hon. Robert Stivers

RE 92-3, PageID #1673-1677   Kentucky Department of Libraries and
                             Archives Email Memorandum to Clerks and
                             Modified Marriage Form

RE 108, PageID #1948-1969    Memorandum Opinion and Order

RE 136, PageID #2037         Plaintiffs’ Proposed Special Verdict Form

RE 166, PageID #2590         Judgment

RE 167, PageID #2591-2638    Trial Transcript, Jury Trial Day 1, September
                             11, 2023

RE 169, PageID #2769-2937    Trial Transcript, Jury Trial Day 2, September
                             12, 2023

Re 170, PageID #2938-3064    Trial Transcript, Jury Trial Day 3, September
                             13, 2023

RE 175, PageID #3125-3130    Memorandum Opinion and Order denying Kim
                             Davis’s Renewed Motion for Judgment as a
                             Matter of Law




                             Addendum - 2
